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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

 CLOVER COFFIE, ELIJAH SMITH, ancl
 SHANTE LEGRAND, each individually and on belialf of
 all others sirnilarly situated:

                Plaintiffs,                                CaseNo. 9: I 9-cv-8073O-RS-MM
                                                           CLASS ACTION
 VS.


 FLORIDA CRYSTALS CORPORATION, a Delaware
 corporation; SUGAR CANE GROWERS COOPERATIVE
 OF FLORIDA, a Florida not for profit corporation;
 LINITED STATES SUGAR CORPORATION, a Delaware
 corporation; FLO- SllN INCORP ORATED, a Florida
 corporation; AMERICAN SUGAR REFINING, INC., a
 Delaware corporation; OKEELANTA CORPORATION, a
 Delaware corporation; OSCEOLA FARMS CO., a Florida
 corporation; SUGARLAND HARVESTING CO., a Florida
 not for profit corporation; TRUCANE SUGAR
 CORPORATION, a Florida corporation; INDEPENDENT
 HARVESTING, INC., a Florida corporation; KING
 RANCH, INC., a Delaware corporation; J & J AG
 PRODUCTS, INC., a Florida corporation; and
 DOES 1-50;

                Defendants




                                   NOTICE OF APPEARANCE

        Jennifer J. Kennedy of the Law Firm of Abbey, Adams, Byelick & Mueller, L.L.P. gives

 notice of her appearance as Counsel for Defendant, SUGAR CANE GROV/ERS COOPERATIVE

 OF FLORIDA, and request that copies of all documents in this proceeding be furnished to her at

 the address set forth below:

                                Sen'i ce.lKeuneclr' íri.,abtrcy arl¿ur   s. cor-r-l
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                                              CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the fbregoing has been furnished via electronic mail

 to:   Joseph Schulz,        Esquire and Zachary West. Esquile of The Berman Law Group                         at


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 zwestúDthebernlanlau'gloup,conr and                  to Matthew           Moore , Esquire   of Matt Moore Law at
 mattheu¡@nrattrnoore-       I   ar.v.   com on thi s /3   fh   auy   or   Sõlo{oboa         ,2ots


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                                                                Counsel for Defendant, Sugar Cane Growers
                                                                Cooperative of Florida
